 

Case: 4:19-cv-00033-.]CH Doc. #: 6 Filed: 02/19/19 Page: 1 of 3 Page|D #: 21

IN Tl-IE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF l\/IISSOURI

UNITED STATES OF Al\/IERICA.
Plaintiff`,

v. 4:l9CV00033 JCI-l

U.S. v. $4,490.00 U.S. Currency; Et Al.

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Defendant.

DECLARATION OF PUBLICATION
Notice of Civil Forfeiture was posted on an official government internet site

(Www.forfeiture.gov) for at least 30 consecutive days, beginning on January 15, 2019,

as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime

Claims and Asset Forfeiture Actions, as evidenced by Attachment l.

l declare under penalty of perjury that the foregoing is true and correct. Executed on

February 15, 2019 at St. Louis, l\/IO.

UMMQ owl

Danielle I` loyd
Forf`eitu1e Specialist

 

 

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Attachment 1

lN THE UNITED STATES DlSTRlCT COURT
FOR THE EASTERN DlSTRlCT OF lVl|SSOUR|
COURT CASE NUN|BER: 4:19CV00033 JCH; NOT|CE OF FORFE|TURE ACTION

Pursuant to 21 U.S.C. § 881, the United States filed a verified Complaint for Forfeiture
against the following property;

$19,274.00 U.S. Currency (17-FB|-004593)
$4,490 U.S. Currency (17-FBl-005052)

Any person claiming a legal interest in the Defendant Property must file a verified C|aim
with the court within 60 days from the first day of publication (January 15, 2019) of this
Notice on this official government internet web site and an Answer to the complaint or
motion under Rule 12 of the Federal Rules of Civil Procedure within 21 days thereafter.

18 U.S.C. § 983(h)(1) permits a court to impose a civil fine on anyone asserting an interest
in property which the court determines was frivolous.

The verified C|aim and Answer must be filed with the Clerk of the Court, 111 South 10th
St., Suite 3.300, St. Louis, l\/lO 63102, and copies of each served upon Assistant United
States Attorney Stephen Casey, Thomas F. Eagleton Courthouse, 111 South Tenth
Street, 20th Floor, St. Louis, l\/lO 68102, or default and forfeiture will be ordered. See, 18
U.S.C. § 983(a)(4)(A) and Rule G(5) of the Supplementa| Rules for Admiralty or l\/larltlme
C|aims and Asset Forfeiture Actions.

The government may also consider granting petitions for remission or mitigation, which
pardon all or part of the property from the forfeiture. A petition must include a description
of your interest in the property supported by documentation; include any facts you believe
justify the return of the property; and be signed under oath, subject to the penalty of
perjury, or meet the requirements of an unsworn statement under penalty of perjury. See
28 U.S.C. Section 1746. Forthe regulations pertaining to remission or mitigation of the

forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of the forfeiture are
found at 28 C.F.R. Section 9.5(3). The criteria for mitigation of the forfeiture are found at

28 C.F.R. Section 9.5(b). The petition need not be made in any particular form and may
be flled online or in writing. You should file a petition not later than 11:59 Pl\/l EST 30 days
after the date of final publication of this notice. See 28 C.F.R. Section 9.3(a). The
https://www.forfeiture.qu/Fi|lnqPetition.htm website provides access to a standard petition
form that may be mailed and the link to file a petition online. lf you cannot find the desired
assets online, you must file your petition in writing by sending it to Assistant United States
Attorney Stephen Casey, Thomas F. Eagleton Courthouse, 111 South Tenth Street, 20th
Floor, St. Louis, l\/lO 63102. This website provides answers to frequently asked questions
(FAQs) about filing a petition. You may file both a verified claim with the court and a
petition for remission or mitigation.

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Advertisement Certification Report

 

l The Notice of Pub|ication was available on the www.forfeiture.gov web site for at least 18 hours per day
between January 15, 2019 and February 13, 2019. Below is a summary report that identifies the uptime
for each day within the publication period and reports the results of the web monitoring system’s daily
check that verifies that the advertisement was available each day.

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U.S. v. U.S. v. $4,490.00 U.S. Currency; EtAl.

Court Case No: 4:1QCV00033 JCH
For Asset |D(s): See Attached Advertisement Copy

Calenda'r Day' Appea'r`ed o'n the was Av_ailable during , Advertisement
Count Web 'Site Galendar 1 existed on`Web Site
1 01/15/2019 24.0 Verified

 

 

Additional log information is available and kept in the archives for 15 years after the asset has been disposed.

